Case 1:18-cv-02561-RBJ Document 15 Filed 04/11/19 USDC Colorado Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 1:18-cv-02561-RBJ

PRECISION DISCOVERY, INC., f/k/a
PRECISION DISCOVERY, LLC

Plaintiff,

v.

HITACHI VANTARA CORPORATION f/k/a
HITACHI DATA SYSTEMS and COLD CREEK SOLUTIONS, INC.

Defendants


  UNCONTESTED MOTION FOR EXTENTION OF TIME FOR DEFENDANT COLD CREEK
 SOLUTIONS, INC. TO ANSWER PLAINTIFF, PRECISION DISCOVERY, INC.’S AMENDED
                                 COMPLAINT
____________________________________________________________________________

        Defendant, Cold Creek Solutions, Inc. (“Cold Creek”) through its undersigned

counsel, submits this uncontested motion and alleges as follows:

        1.    The attorney for Plaintiff, Precision Discovery, Inc. (“Plaintiff”), Larry M.

Pearson, consented on April 10, 2019 to this motion for extension of time for Cold Creek

to Answer Plaintiff’s Amended Complaint. There are no other parties served in this

matter and the motion is uncontested.

        2.    The good cause for requesting this extension of time is that there exists

another lawsuit filed in the United States District Court Southern District of New York,

Civil Action No 1:17-cv 06851(SHS), between the parent company of the yet-unserved



                                              1
Case 1:18-cv-02561-RBJ Document 15 Filed 04/11/19 USDC Colorado Page 2 of 3




Co-Defendant , Hitachi Vantara Corporation f/k/a Hitachi Data Systems (“Defendant

Hitachi”), namely, Hitachi Data Systems Credit Corporation (“HDSCC”).

       3.     In the New York case, Plaintiff and HDSCC have entered into an

undisclosed agreement, which may help resolve or frame the issues in this cause of

action. It is most likely, that if Plaintiff resolves its issues with HDCC, it would not

continue to litigate against Defendant Hitachi or Cold Creek or the putative defendant,

Howard Holton.

       4.     Further, there is a Motion to Dismiss filed by HDSCC in regard to Plaintiff

and the response to such Motion is due on April 12, 2018 and upon information and

belief, the undisclosed agreement and the Motion For Summary Judgment events may

substantially alter how or whether Plaintiff will proceed in litigation against Defendant

Hitachi and against Cold Creek.

       4.     The factual issues pled regarding Defendant Hitachi and Cold Creek are

practically the same and so resolution in the New York case may substantially resolve

issues in this case and may modify how this case proceeds or does not proceed.

       5.     As a matter of judicial economy, it is in the best interests off all parties and

the Court to wait until after April 30, 2018 to see if Defendant Hitachi will be served and

if the issues resolved by the case in New York will resolve or alter the causes of action

and defenses in this case.

       WHEREFORE, Cold Creek requests an extension of 30 days to file an Answer to

Plaintiff’s Amended Complaint.

                                               2
Case 1:18-cv-02561-RBJ Document 15 Filed 04/11/19 USDC Colorado Page 3 of 3




       Respectfully submitted this 11th day of April, 2019.


                                                    s/ Douglas Glover
                                                    ____________________________
                                                    Douglas Glover
                                                    Glover Law Office, LLC
                                                    3251 Riverwood Way
                                                    Castle Rock, Colorado 80109
                                                    Phone: (719) 553-7341
                                                    dmglover@comcast.net
                                                    ATTORNEY FOR COLD CREEK



                                CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of April, 2019, I electronically filed a copy of
the foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to all counsel of record.

                                            Jamey W. Jamison
                                            Dino G. Moncecchi
                                            Harris, Karstaedt, Jamison & Powers, PC
                                            10333 E. Dry Creek Road, Ste 300
                                            Englewood, Colorado 80112
                                            Phone: 720-875-9140
                                            Fax:     720-875-9141
                                            jjamison@hkjp.com
                                            dmoncecchi@hkjp.com

                                            ATTORNEYS FOR PLAINTIFFS
                                            s/ Katianna Glover
                                            __________________________________




                                               3
